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EXHIBIT A
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BuzzFeed NEWS cccomnesoves

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Cops Across The US Have Been Exposed
Posting Racist And Violent Things On
Facebook. Here's The Proof.

A review of the Facebook accounts of thousands of
officers around the US — the largest database of its kind
— found officers endorsing violence against Muslims,
women, and criminal defendants.

By Emily Hoerner
cam BuzzFeed Contributor

_, Rick Tulsky
S BuzzFeed Contributor

Reporting
From

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Last updated on July 23, 2019, at 3:32 p.m. ET
Posted on June 1, 2019, at 8:56 a.m. ET

This article was published in collaboration with
Injustice Watch, a nonprofit newsroom focused on
exposing institutional failures that obstruct justice and
equality.

CHICAGO — When an armed, would-be robber backed
out of a liquor store after the clerk pulled a gun on
him, the surveillance video was posted on Facebook
with a comment: “Should have shot him.”

Another commenter responded, “I would of pulled the
trigger.”

These comments weren’t from your everyday
Facebook users. They were the words of Philadelphia
police officers.

Local law enforcement departments across the
country have grappled with officers’ use of social
media, often struggling to create and enforce policies
that restrict offensive speech.

The North Charleston, South Carolina, police
department fired an officer for posting a photo of
himself wearing Confederate flag underwear, days
after a white supremacist killed nine black
wotshippers at the Emanuel African Methodist
Episcopal Church just miles away. He later settled a
wrongful termination suit.
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The Chicago Police Department has tried
unsuccessfully to fire an officer whose own
commander complained of his “bigoted views.” A
Facebook page called Chicago Code Blue attracted
attention for inflammatory comments — such as
“Every Thug Deserves a Slug” — after an officer was
found guilty in the death of Laquan McDonald.

Police officers saying bigoted and racist things online
has been an issue since the beginning of social media.
The behavior was especially scrutinized after the Black
Lives Matter movement blasted into the national
conversation — and that scrutiny has continued even
after that movement began grappling with its future.

 

What was never really captured was the scope of
problematic online posts from police officers.

But a new review of police behavior on Facebook
documents the systemic nature of the conduct across
several departments. The Plain View Project, launched
by Philadelphia lawyer Emily Baker-White, examined
the accounts of about 2,900 officers from eight

 

departments across the country and an additional 600
retired officers from those same departments. She
compiled posts that represented troubling conduct in
a database that is replete with racist imagery and
memes, and in some cases long, vitriolic exchanges
involving multiple officers.
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The project sought to compile posts, comments, and
other public activity that could undermine public
trust in the police and reinforce the views of critics,
especially in minority communities, that the police
are not there to protect them.

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Various screenshots compiled by Plain View.
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Facebook

Of the pages of officers whom the Plain View
researchers could positively identify, about 1 in 5 of
the current officers, and 2 in 5 of the retired officers,
made public posts or comments that met that
threshold — typically by displaying bias, applauding
violence, scoffing at due process, or using
dehumanizing language. The officers mocked
Mexicans, women, and black people, celebrated the
Confederate flag, and showed a man Wearing a
kaffiyeh scarf in the crosshairs of a gun.

“Just another savage that needs to be exterminated,”
wrote Booker Smith Jr., a Dallas police sergeant, about
a homicide at a Dollar General store. “Execute all
involved,” he wrote separately about a group of teens
who were accused of killing a 6-year-old. (One
defendant pleaded guilty to aiding in the kidnapping.
The alleged shooter and another defendant’s trials are
scheduled for later this year.)

Reuben Carver III, a Phoenix officer, proclaimed in a
stand-alone post, “Its a good day for a choke hold.”

And in St. Louis, Officer Thomas Mabrey shared a false
news report that distorted an incident in which a
woman police officer was shot responding to a call
from a Moroccan man in Lebanon, Ohio. “F these
muslem turd goat humpers,” he wrote, one of
numerous anti-Muslim posts.
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The officers named in this article did not respond to
attempts to contact them or declined to comment.

When contacted about the findings of the Plain View
Project, some departments requested more details
about the flagged posts. The Phoenix Police
Department said it had opened an inquiry into
Carver’s post, and submitted it to the Professional
Standards Bureau for review. The same officer also
made posts threatening lawbreakers with sexual
assault and celebrating violence against “hippies.”

A spokesperson with the St. Louis police department
said they had forwarded the information regarding
the post disparaging Muslims to their Internal Affairs
division. A spokesperson with the Dallas Police
Department said they had forwarded Smith’s details
to superiors for review.

Still, experts in race and criminal justice were alarmed
at the data.

“This blows up the myth of bad apples, by the sheer
number of images and numbers of individuals who
are implicated,” said Nikki Jones, an associate
professor of African American studies at the
University of California, Berkeley.

David Kennedy, a criminology professor at John Jay
College, said he considered the results “dire.”
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"This is the kind of behavior that confirms the worst
suspicions on the part of communities about the
police," Kennedy said, adding that it “fuels and
cements” the convictions of people in distressed
communities have that the “police are not to be
trusted.”

Still others said some posts need to be taken in the
context of the job.

Peter Moskos, a sociologist and former Baltimore
police officer, argued that among the police rank and
file, such comments may just be expressions of
officers who recognize the dangers of the profession.

“T think a lot of that language serves a purpose,”
Moskos said. It implies, “We’re all in this together.”

   

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Various screenshots compiled by Plain View.

Facebook

Moskos, who now is an associate professor in the
Department of Law, Police Science, and Criminal
Justice Administration at John Jay College, said that
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some of what officers say is likely hyperbole — a way
of signaling to colleagues that an officer is not a
coward and will have their partner’s back when a
dangerous situation erupts.

The Plain View Project used department rosters to
search for Facebook pages for every officer in Phoenix;
St. Louis; Philadelphia; Dallas; York, Pennsylvania;
Twin Falls, Idaho; Denison, Texas; and Lake County,
Florida. The locations were chosen to achieve a range
of geography and size.

The troubling posts were not limited to the large
departments. In Lake County, Florida, Sheriff’s
Deputy Jason Williams shared a meme, along with the

smeared with blood with the caption “JUST DROVE
THROUGH ARIZONA/DIDN’T SEE ANY PROTESTERS.”
The department is now investigating.

Another sheriff’s deputy, Cpl. Robert Bedgood, posted
a photo of a vehicle with a decal reading “1-800-
CHOKE-DAT-HOE,” with the comment “my new
motto.” In a comment below the photo, he wrote “A
choke, is the new; i love you.” Bedgood declined to
comment to reporters about the post.

The project was able to identify about 1 in 5 of the
roughly 14,400 officers on the rosters through a
combination of profile name, URLs, photographs,
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badge numbers, and other identifying information.
Many officers could not be included because they had
common names or used nicknames, their profiles
were private, or they did not have a Facebook profile.

But that still left an avalanche of problematic posts.

In Philadelphia, which has roughly 6,600 officers, the
Plain View Project identified 1,073 on Facebook, about
a third of whom had made troubling posts or
comments.

The Plain View Project shared its research with
Injustice Watch, a Chicago-based nonprofit
newsroom, which discovered many officers who made
offensive posts were also accused of brutality or civil
tights violations. Of 327 officers in Philadelphia who
posted troubling content, more than a third — 138
officers — appeared to have had one or more federal
civil rights lawsuits filed against them, based on
name, badge number, and other corroborating details.
Of that group, 99 ended in settlements or verdicts
against them or the city.

The Facebook posts were not specifically connected to
incidents that were the subject of lawsuits, though in
some cases the officers were supporting conduct, like
using Tasers to subdue suspects, that could mirror the
kind of conduct raised in complaints.
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Philadelphia Officer Christian Fenico, who appears on
Facebook under the name Chris Joseph and posted the
“should have shot him” comment in September 2013,
has twice been accused of excessive and unprovoked
force. In both cases, men claimed that he choked
them. Both lawsuits ended in payments by the city to
settle the claims.

In late 2013, Fenico shared an article from a now-
defunct website that detailed examples of sensational
events, whether real or not.

The article, which seems to have been taken down,
referenced a handcuffed teen whose face was injured
after police used a Taser. “Who cares,” he wrote, “kid
and mom are scumbags. Good job police.”

In a post about refugees, he wrote, “Let them starve to
death. I hate every last one of them.”

The city paid $110,000 to settle a case brought by a
man who said Fenico came to his home responding to
a call and then beat him, breaking his nose, and
choking him to unconsciousness even after his
partner tried to pull him away, saying, “that’s
enough,” the lawsuit said.

Another man’s lawsuit described the trouble that
ensued after the family called police to report that a
driver had hit a family member’s car and then
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attempted to flee. Fenico, one of the officers who
responded to the call, ended up in an argument
during which Fenico pointed his gun at the man,
threatened to shoot him, and punched and choked
him until he lost consciousness, according to the
lawsuit. The man received $5,000.

Also in Philadelphia, Officer Robert Oakes appeared to
belittle domestic abuse, writing, “Oh baby, oh baby,
PLEASE DONT!!!!! stop!!!!! resisting!!!!!” and “no means
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Various screenshots compiled by Plain View.

Facebook

The city paid $42,500 to settle two lawsuits that said
Oakes had assaulted Philadelphia residents; neither of
the suits claimed sexual misconduct or domestic
abuse. In one, Oakes and another officer, working
undercover, were accused of stopping a man as he
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walked down the street and assaulting him. In the
other, Oakes was among a group of officers accused of
assaulting a man who observed a police incident and
attempted to record it.

The offensive posts were not just by the rank and file.
At least 64 of the Philadelphia officers have leadership
roles, serving as corporals, sergeants, lieutenants,
captains, or inspectors, according to an employment
roster from January.

Jim Bueermann, a former police chief in Redlands,
California, who recently retired as president of the
Police Foundation, said supervisors establish
behavioral norms for the rank and file: “You pay
sergeants to be leaders, you pay them to uphold the
values of the organization, and to demand
constitutionally correct behavior that is in alignment
with the organizational values.”

Sgt. Mark Palma reposted a meme disparaging people
of Middle Eastern descent and called protesters who
appeared at an officer’s home after a shooting “scum.”
Since 2012, the city has paid out $977,500 to settle five
lawsuits that were filed against the City of
Philadelphia, Sgt. Palma, and members of his squad.

Sgt. Michael Melvin, who goes by Michael Vincent on
Facebook, posted a photo in 2015 mocking the Black
Lives Matter movement.
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The image showed a large bulletin board adorned with
printouts of dogs with handwritten captions. “Hands
up don’t shoot,” one heading read, next toa dog with
its paws in the air. “Dog lives matter.” The other, an
image of a dog with her puppies, read, “Now who
gonna feed my babies.”

Melvin was accused of being part of a cover-up ina
wrongful death lawsuit that the city settled last
November for $195,000.

Philadelphia, Dallas, and Phoenix have social media
policies that prohibit off-duty employees from
posting content that is biased or discriminatory. Court
rulings permit bans on potentially harmful speech
such as threats and bigotry by public employees.

Injustice Watch questioned the Philadelphia Police
Department about several of the posts in February,
providing the names of seven officers. The
department said that in response it had opened an
investigation.

“We have reviewed the social media transcriptions
you provided, and find many of them to be not only
incongruent with our standards and policies, but also
troubling on a human level,” Commissioner Richard
Ross said in a statement.
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According to a federal lawsuit, Officer Milord Celce Jr.
responded to a report of a verbal dispute in May 2013.
He told one person present, Laketa Wanamaker, that
someone was going to jail, and used his Taser on her
multiple times, the suit said.

“They charged her with not one single crime,” said the
woman’s lawyer, Alan Denenberg. “How do they
justify using a Taser which is three, four steps up on
the use-of-force continuum?”

The city agreed to a $25,000 settlement.

A year and a half after the incident, Celce posted an
article that featured an officer showing restraint
when a customer would not show a store receipt.
Celce was not impressed:

“This cop is a disgrace...” Celce wrote. “My taser
would’ve had him dancing.”

The lawsuits involving five officers cost Philadelphia
more than $1.3 million, not including settlements for
undisclosed amounts.

In November 2017, Palma — who reposted a racist
meme and called protesters “scum” — referenced a
philly.com article that detailed complaints that an
officer, whose profile picture showed her in uniform,
had posted inflammatory comments online. The post
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was about the proposed removal of a statue of former
Philadelphia mayor Frank Rizzo over his treatment of
black and Latino communities. The officer called one
commenter a “ghetto ass” and mocked black
vernacular speech.

“The Media is watching what we put on Facebook,”
Palma warned.

Days later, most of his Facebook posts became private.
@

Opening illustration by BuzzFeed News

CORRECTION

July 23, 2019, at 3:30 p.m.

The numbers in a paragraph about the Philadelphia
Police Department have been adjusted to reflect the
Plain View Project's removal of an officer who had
been inaccurately included in its database.
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